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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR09-184-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   NICOLE L. LADD,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession of Stolen Mail; Conspiracy to Commit Bank Fraud; Aggravated

15 Identity Theft

16 Date of Detention Hearing:     July 8, 2009

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)     Defendant is currently unemployed and her living situation is not stable. Her


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 criminal record includes numerous failures to appear for court hearings, and bench warrant

02 activity. There are several active bench warrants outstanding. Her probation officer in the

03 Auburn Municipal Court reports that she has been non-cooperative and has failed to comply with

04 the terms of supervision. She has absconded from drug treatment on two separate occasions in

05 the past several months. There are significant mental health and substance abuse issues.

06          (2)     Defendant poses a risk of danger based on failures to appear, a history of failing

07 to comply with court orders, absconding from treatment, active and extraditable warrants, pending

08 matters in other court and unstable residential history. She poses a risk of nonappearance due to

09 the nature of the instant offense, a history of failures to comply with court orders, substance abuse

10 history and failed efforts to participate in treatment.

11          (3)     There does not appear to be any condition or combination of conditions that will

12 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

13 to other persons or the community.

14 It is therefore ORDERED:

15          (1)     Defendant shall be detained pending trial and committed to the custody of the

16                  Attorney General for confinement in a correction facility separate, to the extent

17                  practicable, from persons awaiting or serving sentences or being held in custody

18                  pending appeal;

19          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

20                  counsel;

21          (3)     On order of a court of the United States or on request of an attorney for the

22                  Government, the person in charge of the corrections facility in which defendant


     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01                is confined shall deliver the defendant to a United States Marshal for the purpose

02                of an appearance in connection with a court proceeding; and

03         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

04                counsel for the defendant, to the United States Marshal, and to the United States

05                Pretrial Services Officer.

06         DATED this 8th day of July, 2009.



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08                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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